            Case 2:20-cv-00479-RMP                   ECF No. 12          filed 06/08/21     PageID.117 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                                                                 FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                                                                       EASTERN DISTRICT OF WASHINGTON
                                                                  for thH_
                                                     Eastern District of Washington                     Jun 08, 2021
                                                                                                              SEAN F. MCAVOY, CLERK
   CHARLES JOSEPH REEVIS (a.k.a. The Godfather
  GodHeadHolyspiritAlphaandomega AntichristChrist),                  )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-CV-00479-RMP
 SPOKANE COUNTY SUPERIOR COURT, STATE OF                             )
  WASHINGTON DEPARTMENT OF SOCIAL AND                                )
   HEALTH SERVICES and U.S. DISTRICT COURT
     DISTRICT OF EASTERN WASHINGTON,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: This action is DISMISSED with prejudice as frivolous, malicious, and for failure to state a claim upon which relief may
u
              be granted under 28 U.S.C. § 1915(e)(2).




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              Rosanna Malouf Peterson                                       .




Date: 6/8/2021                                                              CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                             Sara Gore
